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                           IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF ARIZONA


United States of America                         No. CR-10-00298-001-TUC-CKJ (BGM)
   v.                                            JUDGMENT AND COMMITMENT
                                                 REVOCATION OF SUPERVISED RELEASE
Rocco George Delia
                                                 Nathan Donlon Leonardo (CJA)
                                                 Attorney for Defendant
USM#: 94083-208

On October 28, 2010 the defendant, present with counsel, appeared for sentencing for violating, Title
21, U.S.C., §841(a)(1) and Title 21, U.S.C., §841(b)(1)(B)(vii): Possession with Intent to Distribute
Marijuana, Class B Felony offense, as charged in the Information.

          The defendant was sentenced to a term of SIXTY (60) MONTHS imprisonment
          and upon release, FORTY-EIGHT (48) MONTHS of supervised release to follow.

On July 9, 2018 the United States Probation Office filed a petition to revoke the term of supervised
release.

On September 6, 2018 the defendant appeared with counsel and admitted allegations A and B as
reflected in the petition to revoke filed in this matter. The matter now comes on for disposition.

IT IS ORDERED the term of supervised release imposed on October 28, 2010 is hereby REVOKED,
and the defendant is committed to the custody of the Bureau of Prisons for a term of TIME SERVED,
with no term of supervised release to follow.

THE DEFENDANT IS ADVISED OF HIS RIGHT TO APPEAL BY FILING A NOTICE OF
APPEAL IN WRITING WITHIN 14 DAYS OF ENTRY OF JUDGMENT.

The Court affirms any previous order imposing special assessment, fine, or restitution in this case.

The Court orders commitment to the custody of the Bureau of Prisons.

Date of Imposition of Sentence: Tuesday, October 30, 2018

Dated this 30th day of October, 2018.
